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                                                  *Pro hac vice

 Attorneys for Plaintiffs Are You Listening Yet PAC and Tracie Halvorsen

                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH
 ARE YOU LISTENING YET PAC, and
 TRACIE HALVORSEN,
                                                  NOTICE VOLUNTARY DISMISSAL
                       Plaintiffs,

 v.                                               Case No. 2:24-CV-00104-JNP-CMR

 DEIDRE HENDERSON, Lieutenant                          Judge Jill N. Parrish
 Governor of the State of Utah, in her official        Magistrate Judge Cecilia M. Romero
 capacity,

                       Defendant.


       Plaintiffs Are You Listening Yet PAC and Tracie Halvorsen, by and through undersigned

counsel, hereby dismiss the above-captioned matter pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i).
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                                        Respectfully submitted,

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                                       Certificate of Service

         I, Stephen Klein, hereby certify that on this 13th day of March, 2024, the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF system and will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).

                                                       /s/ Stephen Klein
                                                       Stephen R. Klein
